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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                  PADUCAH DIVISION
                                    Electronically Filed

 CARL GATLIN and MICHAEL WEISS   )
                                 )
          Plaintiffs,            )
                                 )
 v.                              )                             Case No. 5:20-cv-174-BJB-LLK
                                 )
 AECOM MANAGEMENT SERVICES, INC. )
                                 )
          Defendant.             )

                                    JOINT STATUS REPORT

        Plaintiffs, Carl Gatlin and Michael Weiss, and Defendant, AECOM Management Services,

 Inc., by counsel, respectfully submit this Joint Status Report in response to the Court’s December

 1, 2023 order (DN 69).

        The parties have reached a settlement of all claims in this matter. On November 10, 2023,

 the undersigned notified Magistrate Judge King that the parties had reached an agreement in

 principle and sought guidance regarding whether to file a formal notice of settlement or simply an

 agreed order of dismissal after the settlement was finalized. (Exhibit 1.) The parties now anticipate

 being in a position to file an agreed order of dismissal within the next two weeks, and likely on the

 earlier end. Counsel apologizes to the Court for any inconvenience.

                                                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on December 1, 2023, I electronically filed the foregoing with the clerk
 of the court by using the CM/ECF system, which will serve copies of the same on the following
 counsel of record:

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